The complaint, to which the instant demurrer is addressed, names three defendants. It is in one count and hence the claims sought to be described against each, appear in one count.
As to the defendant, American Bank  Trust Co., as one of these defendants, the complaint is susceptible of the interpretation that more than one ground of liability is sought to be expressed.
Where more than one basis of liability purports to be stated in a complaint and the complaint is in one count, as here, the demurrer must be addressed to the particular paragraph *Page 52 
or paragraphs which purport to state the cause of action thus made the subject of attack. That is to say that the demurrer must be directed to the cause of action sought to be described in the paragraph or paragraphs and not to the paragraph or paragraphs as paragraphs. Practice Book# 97 and see Form # 347.
   As pointed out in plaintiff's brief the defendant's American Bank  Trust Co., demurrer is on this account bad and must be and is overruled.